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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF KENTUCKY
                            AT BOWLING GREEN

                    CRIMINAL ACTION NO. 1:06CR-00024-TBR

UNITED STATES OF AMERICA                                                      PLAINTIFF

VS.

RICHARD COX                                                                 DEFENDANT


                        REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY


       The Defendant, by consent, has appeared before me pursuant to Rule 11, Federal

Rules of Criminal Procedure, and has entered a plea of guilty to Counts 1, 5, 6, 9, 10, 12,

17, 18, 20, 21, 25, 26, 27, 29 and 30 of the 31-Count Indictment. After cautioning and

examining the Defendant under oath concerning each of the subjects mentioned in Rule

11, I determined that the guilty plea was knowledgeable and voluntary and that the

offense charged is supported by an independent basis in fact containing each of the

essential elements of such offense. I, therefore, recommend that the plea of GUILTY be

accepted and that the Defendant be adjudged GUILTY and have sentence imposed

accordingly.

       ENTERED this June 8, 2006
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                                        NOTICE

       Failure to file written objections to this Report and Recommendation within (10)

days from the date of its service shall bar an aggrieved party from attacking such Report

and Recommendation before the assigned United States District Judge.

28 U.S.C. 636(b)(1)(B).

       Date of Service: June 8, 2006




Copies to:

AUSA Brian Butler
US Marshal
US Probation
CJA Panel Attorney Kelly Thompson, Jr.
Joan Moore, Case Manager




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